Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 1 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 2 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 3 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 4 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 5 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 6 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 7 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 8 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 9 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 10 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 11 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 12 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 13 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 14 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 15 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 16 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 17 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 18 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 19 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 20 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 21 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 22 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 23 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 24 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 25 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 26 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 27 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 28 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 29 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 30 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 31 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 32 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 33 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 34 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 35 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 36 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 37 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 38 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 39 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 40 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 41 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 42 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 43 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 44 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 45 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 46 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 47 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 48 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 49 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 50 of 51
Case 1:20-cv-00132-CRH Document 1 Filed 07/23/20 Page 51 of 51
